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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )          4:08CR3178
                                            )
                    Plaintiff,              )
                                            )
      vs.                                   )
                                            )          ORDER
LATRIAL L. TAYLOR,                          )
                                            )
                    Defendant.              )


      IT IS ORDERED that:

      (1)    The defendant’s motion to continue sentencing (filing 200) is granted.

        (2)   Defendant Taylor’s 1 ½ hour evidentiary hearing and sentencing are continued
to Friday, July 15, 2011, at 11:00 a.m.-12:30 p.m., before the undersigned United States
district judge, in Courtroom No. 1, United States Courthouse and Federal Building,
100 Centennial Mall North, Lincoln, Nebraska. The defendant shall be present unless
excused by the court.

      Dated May 17, 2011.

                                         BY THE COURT:

                                         Richard G. Kopf
                                         United States District Judge
